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Of Attorneys for Defendant Tiffin Motorhomes, Inc.




                              UNITED STATES DISTRICT COURT

                                     DISTRICT OF OREGON

                                     PORTLAND DIVISION



CRAIG LOWENBERG,
                                                                   Case No.     3:15-cv-00211-SI

                       Plaintiff,
       v.                                            STIPULATED GENERAL JUDGMENT
                                                     OF DISMISSAL WITH PREJUDICE
B YOUNG RV, a Oregon company; TIFFIN
MOTOR HOME, INC.; an Alabama
corporation; COMMAND ELECTRONICS,
INC., a Michigan corporation, and RLI
INSURANCE COMPANY, an Illinois
corporation,

                       Defendants.


       Based upon the stipulation of the parties that a general judgment of dismissal with

prejudice of plaintiffs claims against all Defendants be entered without costs to any party, IT IS

HEREBY

Ill

Ill



STIPULATED GENERAL JUDGMENT OF DISMISSAL WITH                                          Page 1
PREJUDICE
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       ORDERED AND DECREED that a General Judgment of Dismissal with Prejudice of

Plaintiffs claims against all Defendants is hereby entered without costs to any party.
                       fs.,.
       DATED    this ~ day of ~L--; 2016.




IT IS SO STIPULATED:

DATED this 9th day of September, 2016                DATED this 9th day of September, 2016

MALONEY LAUERSDORF REINER, P.C.                      GORDON & POLSCER, LLC

By: Isl Andrew C. Lauersdorf                         By: Isl Marv-Anne S. Rayburn
Andrew C. Lauersdorf, OSB#980739                     Mary-Anne S. Rayburn, OSB 803680
Attorney for Plaintiff Craig Lowenberg               Attorney for Defendant Tiffin Motorhomes,
                                                                          Inc.


DATED this 9th day of September, 2016                DATED this 9th day of September, 2016

COSGRAVE VERGEER KESTER, LLP                         SPOONER & MUCH, PC

By: Isl Nicole M Nowlin                             By: Isl Ralph C. Spooner
Nicole M. Nowlin, OSB#OS 1316                       Ralph C. Spooner. OSB#73288
Attorney for Defendant                              Attorney for Defendant BYRV, Inc. dba
Command Electronics, Inc.                                         B. Young RV


DATED this 9th day of September, 2016

BETTS PATTERSON & MINES, PS

By: Isl Jeffrey S. Tindal
Jeffrey S. Tindal, WSB#29286
Pro Hae Vice Attorney for
Defendant RLI Insurance Company




STIPULATED GENERAL JUDGMENT OF DISMISSAL WITH                                            Page2
PREJUDICE
